                             UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF TENNESSEE
                                    AT WINCHESTER

 UNITED STATES OF AMERICA,                       )
                                                 )
 v.                                              )           4:06-cr-08-CLC-WBC
                                                 )
 RAYMOND WADE RICHARDSON                         )

                               MEMORANDUM AND ORDER

         RAYMOND WADE RICHARDSON (“Defendant”) appeared for a hearing on February
 28, 2017, in accordance with Rule 32.1 of the Federal Rules of Criminal Procedure on the
 Petition and Amended Petition for a Warrant or Summons for an Offender Under Supervision
 (“Petitions”).

        Defendant was placed under oath and informed of his constitutional rights. It was
 determined that Defendant wished to be represented by an attorney and he qualified for
 appointed counsel. Federal Defender Services of Eastern Tennessee was appointed to represent
 Defendant. It was also determined that Defendant had been provided with and reviewed with
 counsel a copy of the Petitions.

        The Government moved that Defendant be detained without bail pending his revocation
 hearing before U.S. District Judge Curtis L. Collier. Defendant waived his right to a preliminary
 hearing and a detention hearing.

         Based upon the Petitions and waiver of preliminary hearing, the Court finds there is
 probable cause to believe Defendant has committed violations of his conditions of supervised
 release as alleged in the Petitions.

        Accordingly, it is ORDERED that:

        (1) Defendant shall appear for a revocation hearing before U.S. District Judge Collier.

        (2) The Government’s motion that Defendant be DETAINED WITHOUT BAIL
        pending his revocation hearing before Judge Collier is GRANTED.

        (3) The U.S. Marshal shall transport Defendant to a revocation hearing set before
        District Judge Collier at 2:00 p.m. on Wednesday, March 22, 2017.

        SO ORDERED.

        ENTER.
                                             s/fâátÇ ^A _xx
                                             SUSAN K. LEE
                                             UNITED STATES MAGISTRATE JUDGE


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